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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                Plaintiff,

        v.                                                Civil Action No. 25-0716 (BAH)

 U.S. DEPARTMENT OF JUSTICE, et al.,

                Defendants.


                             SUPPLEMENTAL STATUS REPORT

       As a follow-up to Defendants’ March 20, 2025 Status Report (ECF 31), counsel for

Defendants submit this supplemental status report, and state as follows:

       On March 20, 2025, Defendants filed a Status Report (ECF 31) explaining that joint

OMB-DOJ guidance directed by the Court’s March 19, 2025 Minute Order had been distributed

to all agencies subject to Executive Order 14230. Due to the timing of the distribution as

explained in the Status Report, the final guidance, as distributed, was not available to counsel for

Defendants prior to the filing of Status Report. A copy of the distributed guidance

memorandum, a “Memorandum For All Agencies Subject To Executive Order 14230,” is now

attached hereto. The Memorandum was transmitted by e-mail from OMB to appropriate agency

contacts, under a cover e-mail noting that agencies should “see attached a joint guidance from

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the Department of Justice and the Office of Management and Budget regarding a court order,”

and noting a DOJ contact for questions.

 Dated: March 20, 2025                    Respectfully submitted,
        Washington, DC

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                                          /s/ Terry M. Henry
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